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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

TAMIA BANKS, et al., on behalf of                        )
herself and all others similarly situated,               )
                                                         )
           Plaintiffs,                                   )
                                                         )
                 v.                                      )
                                                         )
COTTER CORPORATION (N.S.L.), et al.,                     )
                                                         )
           Defendants.                                   )
                                                         )
-------------------------------------------------------- )   Case No. 4:20-CV-01227-JAR
                                                         )
COTTER CORPORATION (N.S.L.),                             )
                                                         )
           Third-Party Plaintiff,                        )
                                                         )
                 v.                                      )
                                                         )
MALLINCKRODT LLC,                                        )
                                                         )
           Third-Party Defendant.                        )

                                                   ORDER

        This matter is before the Court on the parties’ Joint Motion for Stay of Proceedings. (Doc.

106). On November 22, 2021, the Court stayed this matter pending the Eighth Circuit’s decision

in Banks et al. v. Cotter Corp., Nos. 21-1160, 21-1165 (8th Cir.) (hereinafter “Banks”). (Doc. 91).

On January 7, 2022, the Eighth Circuit reversed this Court’s December 22, 2020 severance and

remand Order. (Docs. 92-93). The Eighth Circuit issued its mandate on February 18, 2022. (Doc.

99). Plaintiffs have expressed their intention to challenge the Eighth Circuit’s decision in Banks

by filing a Petition for Writ of Certiorari with the Supreme Court of the United States. (Doc. 106

at ¶ 1). Plaintiffs’ Petition will concern application of the Price-Anderson Act, a central issue in




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this case. (Id. at ¶ 2). Plaintiffs and Defendants jointly request that the Court stay this action

pending the outcome of Plaintiffs’ Petition for Writ of Certiorari.

       This Court has inherent power to grant a stay “in order to control its docket, conserve

judicial resources, and provide for a just determination of the cases pending before it.” Contracting

Nw., Inc. v. City of Fredericksburg, 713 F.2d 382, 387 (8th Cir. 1983). In determining whether to

grant a stay, the Court weighs the potential hardship to the parties and interests of judicial

economy. St. Louis Heart Ctr. v. Athenahealth, Inc., No. 4:15-CV-1215 AGF, 2015 WL 6777873,

at *4 (E.D. Mo. Nov. 4, 2015). In this case, Plaintiffs and Defendants both request a stay, and a

Supreme Court decision on the issue presented by Banks could substantially affect the litigation.

After careful consideration, the Court finds that granting a stay will serve the public interest and

promote judicial economy without prejudicing any party.


       Accordingly,

       IT IS HEREBY ORDERED that the parties’ Joint Motion for Stay of Proceedings (Doc.

106) is GRANTED and this matter is STAYED.

       IT IS FURTHER ORDERED that the parties shall file Joint Status Reports with the Court

every sixty (60) days from the date of this Order and within ten (10) days of any decision by the

Supreme Court of the United States on Plaintiffs’ Petition for Writ of Certiorari.


       Dated this 6th day of April, 2022.


                                                  ________________________________
                                                  JOHN A. ROSS
                                                  UNITED STATES DISTRICT JUDGE




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